Case 1:22-cv-00787-JMB-PJG ECF No. 37, PageID.1064 Filed 05/22/23 Page 1 of 12




                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 CHRISTIAN HEALTHCARE CENTERS,
 INC.,
                                                No. No. 1:22-cv-00787
       Plaintiff,
                                                HON. JANE M. BECKERING
 v
                                                MAG. PHILLIP J. GREEN
 DANA NESSEL, in her official
 capacity Attorney General of Michigan, JOHN
 E. JOHNSON, JR., in his official capacity as    DEFENDANTS’ RESPONSE
 Executive Director of the Michigan                 IN OPPOSITION TO
 Department of Civil Rights, PORTIA L.           PLAINTIFF’S MOTION FOR
 ROBERSON, ZENNA FARAJ ELHASON,                       LEAVE TO FILE
 GLORIA E. LARA, RICHARD CORRIVEAU,             SUPPLEMENTAL BRIEF AND
 DAVID WORTHAMS and LUKE LONDO, in               EVIDENCE IN SUPPORT OF
 their official capacities as members of the         ITS MOTION FOR
 Michigan Civil Rights Commission,                  RECONSIDERATION

       Defendants.
 _________________________________________/

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Case 1:22-cv-00787-JMB-PJG ECF No. 37, PageID.1065 Filed 05/22/23 Page 2 of 12




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           DEFENDANTS’ RESPONSE IN OPPOSITION TO
  PLAINTIFF’S MOTION FOR LEAVE TO FILE SUPPLEMENTAL BRIEF
 AND EVIDENCE IN SUPPORT OF ITS MOTION FOR RECONSIDERATION



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Dated: May 22, 2023
Case 1:22-cv-00787-JMB-PJG ECF No. 37, PageID.1066 Filed 05/22/23 Page 3 of 12




                                             TABLE OF CONTENTS

                                                                                                                          Page

Table of Contents ............................................................................................................ i

Index of Authorities ....................................................................................................... ii

Concise Statement of Issue Presented ......................................................................... iii

Introduction ................................................................................................................... 1

Statement of Facts ......................................................................................................... 1

Argument ....................................................................................................................... 2

I.        Plaintiff fails to demonstrate that additional briefing is in the interest
          of justice or that it will benefit the Court’s analysis in resolving the
          pending motion. ................................................................................................... 2

II.       The complaint against the charity is not demonstrative of a palpable
          defect that would result in a different disposition in this case. ........................ 6

Conclusion and Relief Requested .................................................................................. 6

Certificate of Service...................................................................................................... 7




                                                                i
Case 1:22-cv-00787-JMB-PJG ECF No. 37, PageID.1067 Filed 05/22/23 Page 4 of 12




                                          INDEX OF AUTHORITIES

                                                                                                                          Page

Cases

Dsouza v. Wells Fargo Bank, NA, ___F. Supp. 3d___; 2013 U.S. Dist. LEXIS
  51315 (ED Mich. 2013)............................................................................................... 6

Harshaw v. Bethany Christian Servs., No. 1:08-CV-104, 2010 WL 610262
 (W.D. Mich. Feb. 19, 2010)......................................................................................... 2

Mich. Dep't of Treasury v. Michalec, 181 F. Supp. 2d 731 (E.D. Mich. 2002) ............. 6

Nationwide Recovery, Inc. v. City of Detroit, 2021 U.S. Dist. LEXIS 1840 (E.D.
 Mich. 2021) ................................................................................................................. 3

Our Lady of Guadalupe Sch. v. Morrissey-Berru, 140 S. Ct. 2049 (2020) ................... 5

Ross, Brovins & Oehmke, P.C. v. Lexis Nexis Grp., a Div. of Reed Elsevier
  Grp., PLC, 463 F.3d 478 (6th Cir. 2006) ................................................................... 2

Statutes

Mich. Comp. Laws § 37.2501 ......................................................................................... 4

Other Authorities

28 C.F.R. 85.................................................................................................................... 4

42 U.S.C. § 3601 ............................................................................................................. 4

Rules

Fed. R. Evid. 401 ............................................................................................................ 3

W.D. Mich. L. Civ. P. 7.4(a) ........................................................................................... 6




                                                                ii
Case 1:22-cv-00787-JMB-PJG ECF No. 37, PageID.1068 Filed 05/22/23 Page 5 of 12




              CONCISE STATEMENT OF ISSUE PRESENTED

      1.    Whether this Court should deny Plaintiff’s motion to file a
            supplemental brief where the interests of justice do not weigh in favor
            of doing so, and where the proposed brief will not assist the Court in
            resolving Plaintiff’s motion for reconsideration.




                                        iii
Case 1:22-cv-00787-JMB-PJG ECF No. 37, PageID.1069 Filed 05/22/23 Page 6 of 12




                                     INTRODUCTION

      Plaintiff argues that a recent complaint filed with the Michigan Department

of Civil Rights (MDCR) against the Catholic Charities of Shiawassee and Genesee

Counties (the charity) alleging gender identity discrimination in housing supports

granting supplemental briefing to, again, attempt to establish standing in support

of its motion for reconsideration.

      But the charity is not similarly situated to Christian Healthcare—a medical

care provider that operates clinics for their members—where it is involved, in

relevant part, in providing financial assistance and other services to members of the

public necessary to obtaining housing. Further, the complaint involves violations of

Article 5 of the Elliott-Larsen Civil Rights Act (ELCRA) and the federal Fair

Housing Act. Neither are at issue in this case.

      Where the facts and laws are dissimilar to the instant case, the new

complaint fails to support any present or imminent threat of enforcement of the

ELCRA (or the Equal Accommodations Act) against Christian Healthcare. As a

result, supplemental briefing is not in the interests of justice, will not benefit the

Court, and would not result in a different disposition. The motion should be denied.


                              STATEMENT OF FACTS

      This Court issued an Opinion and Order granting Defendant’s motion to

dismiss (ECF No. 19) and dismissing Plaintiff’s motion for preliminary injunction

on March 29, 2023. (ECF No. 28.) On that same day, this Court also entered a

judgment dismissing this matter and closing the case. (ECF No. 29.)



                                            1
Case 1:22-cv-00787-JMB-PJG ECF No. 37, PageID.1070 Filed 05/22/23 Page 7 of 12




      Plaintiff filed a motion for reconsideration on April 4, 2023, (ECF No. 30), to

which Defendants responded on April 26, 2023. (ECF No. 33.) In the interim, on or

about April 13, 2023, the MDCR received a complaint against the Catholic Charities

of Shiawassee and Genesee Counties alleging gender identity discrimination in the

provision of housing-related services. (ECF No. 35-2, Ex A, PageID.1055.)1 On

May 3, 2023, the MDCR provided a copy of the complaint to the charity and an

order requesting a response to the complaint with supporting documentation by

May 17, 2023. (Id., PageID.1052-1057.)

      On May 8, 2023, Plaintiff filed the instant motion for leave to file a

supplemental brief in support of its motion for reconsideration. (ECF No. 35.)


                                   ARGUMENT

I.    Plaintiff fails to demonstrate that additional briefing is in the
      interest of justice or that it will benefit the Court’s analysis in
      resolving the pending motion.

      This Court need not accept every filing submitted by a party; but leave to file

supplemental briefs may be granted in the interests of justice when the proposed

submission contains “new authority or evidence that was not available [to the

movant] in the exercise of reasonable diligence” when the original briefs were filed.

See Harshaw v. Bethany Christian Servs., No. 1:08-CV-104, 2010 WL 610262, at *1

(W.D. Mich. Feb. 19, 2010) (citing Ross, Brovins & Oehmke, P.C. v. Lexis Nexis Grp.,

a Div. of Reed Elsevier Grp., PLC, 463 F.3d 478, 488 (6th Cir. 2006)). But even in



1Undersigned counsel were unaware of the complaint at the time Defendants’
response was filed.


                                          2
Case 1:22-cv-00787-JMB-PJG ECF No. 37, PageID.1071 Filed 05/22/23 Page 8 of 12




those circumstances, the party must demonstrate “good cause” exists in a motion for

leave to file a supplemental brief. Id. See also Nationwide Recovery, Inc. v. City of

Detroit, 2021 U.S. Dist. LEXIS 1840, *3 (E.D. Mich. 2021) (The Court “has the

discretion to grant supplemental briefing in the interest of justice. . . . [where the

evidence] may provide new relevant information to the issue. . . . and this

information was not available.”) (Emphasis added).

      Defendants do not dispute MDCR received the new complaint after this

matter was closed on March 29, 2023, and Plaintiff filed its motion for

reconsideration on April 4, 2023. Nevertheless, good cause does not exist to permit

supplemental briefing where the complaint is not relevant new evidence. See Fed.

R. Evid. 401 (“Evidence is relevant if it has any tendency to make a fact more or less

probable than it would be without the evidence and the fact is of consequence in

determining the action.”)

      Plaintiff argues the complaint against this religiously-affiliated charity is

“evidence [ ] relevant to Christian Healthcare’s standing because it demonstrates

[Christian Healthcare] faces a credible threat of prosecution as Michigan is

currently investigating a religious entity for allegedly discriminating based on

gender identity.” (ECF No. 35, PageID.1040) (emphasis in original). Plaintiff

further asserts “[t]he complaint is particularly important because, in prior briefing,

Michigan tried to defeat Plaintiff’s standing and oppose Plaintiff’s request for a

preliminary injunction by claiming that ‘there have been no investigations,

prosecutions or enforcement actions … against other religious entities’ based on




                                            3
Case 1:22-cv-00787-JMB-PJG ECF No. 37, PageID.1072 Filed 05/22/23 Page 9 of 12




complaints alleging sexual orientation or gender identity discrimination,” which is

no longer correct. (Id.)

      But other than the fact that the charity is apparently affiliated with the

Catholic Church, the complaint bears no similarities to this case. The charity is not

a medical provider, like Christian Healthcare. And the complaint alleges

discrimination related to housing, which is generally governed by Article 5 of the

ELCRA, Mich. Comp. Laws § 37.2501 et seq., and/or the federal Fair Housing Act,

42 U.S.C. § 3601 et seq. 2 Plaintiff’s complaint does not allege that Christian

Healthcare provides any housing-related services similar to those provided by the

charity, and Plaintiff’s claims are directed to Articles 2 and 3 of the ELCRA. 3

      Further, housing discrimination claims are dissimilar to other ELCRA claims

given the overlap with the federal Fair Housing Act, among other laws, and the fact

that which nondiscrimination laws will apply depends to some extent on whether

federal funding is involved. 4 Thus, determining the appropriate applicable law and

sources of funding the charity receives will be imperative to the MDCR’s

investigation and resolution of the complaint and whether the charity will be



2 The MDCR is a designated Fair Housing Assistance Program Agency that receives
federal Housing and Urban Development (HUD) funds under the Fair Housing
Assistance Program to investigate complaints alleging discrimination related to
housing and to provide training under the Fair Housing Act. See 28 C.F.R. 85.
3 The charity describes the various services it provides on its website, available at
Catholic Charities of Shiawassee and Genesee Counties (catholiccharitiesflint.org).
4The Fair Housing Act prohibits discrimination against people in nearly all aspects
of housing. See Housing Discrimination under the Fair Housing Act, Housing
Discrimination Under the Fair Housing Act | HUD.gov / U.S. Department of
Housing and Urban Development (HUD).


                                           4
Case 1:22-cv-00787-JMB-PJG ECF No. 37, PageID.1073 Filed 05/22/23 Page 10 of 12




 eligible for an exemption from applicable nondiscrimination laws based on its

 religious beliefs. Of course, the scope of the MDCR’s investigation will depend on

 whether the facts support that actionable discrimination occurred. Regardless,

 these specific funding issues have no bearing on Christian Healthcare’s operation as

 a medical provider and its claims related to the employment and the public

 accommodations provisions of the ELCRA.

       Plaintiff’s suggestion that the mere existence of an administrative complaint

 and a request to respond to such a complaint violates religious freedoms or

 demonstrates that Defendants are poised to violate Plaintiff’s religious rights is

 unfounded. As of this filing, there are no complaints pending against Christian

 Healthcare and Defendants are unaware of any complaints against churches or

 similar entities to Christian Healthcare involving sexual orientation or gender

 identity discrimination. Christian Healthcare appears to argue it is entitled to

 something akin to absolute immunity. But no such immunity exists. See, e.g, Our

 Lady of Guadalupe Sch. v. Morrissey-Berru, 140 S. Ct. 2049, 2060 (2020)

 (“[R]eligious institutions [do not] enjoy a general immunity from secular laws, but

 [the First Amendment] does protect their autonomy with respect to internal

 management decisions that are essential to the institution’s central mission.”)

 Moreover, even defendants that possess immunity still must respond to complaints

 filed against them—even if it is simply to file a dispositive pleading.

       Because the complaint against the charity bears no similarities to the

 Plaintiff and claims at issue in this case, and thus does not support any allegations




                                            5
Case 1:22-cv-00787-JMB-PJG ECF No. 37, PageID.1074 Filed 05/22/23 Page 11 of 12




 of imminent harm to Plaintiff, it is irrelevant and the interests of justice do not

 support granting supplemental briefing.


 II.     The complaint against the charity is not demonstrative of a palpable
         defect that would result in a different disposition in this case.

         Plaintiff’s request to supplement its briefing relative to its motion for

 reconsideration fails to establish a palpable defect warranting reconsideration of

 this case. W.D. Mich. L. Civ. P. 7.4(a). Palpable defects are those which are

 “obvious, clear, unmistakable, manifest or plain.” Mich. Dep't of Treasury v.

 Michalec, 181 F. Supp. 2d 731, 734 (E.D. Mich. 2002). Plaintiff cannot assert a

 palpable defect of this Court’s March 29, 2023, decision based on a complaint filed

 with the MDCR after the order was issued. See, Dsouza v. Wells Fargo Bank, NA,

 ___F. Supp. 3d___; 2013 U.S. Dist. LEXIS 51315, at *6 (ED Mich. 2013) (finding a

 lack of a palpable defect due to events occurring after the court issued its order

 denying preliminary injunction) (Ex. A). Further, as stated above, the subsequently

 filed MDCR complaint does not establish a credible threat of enforcement where it

 involves dissimilar entities, dissimilar facts, and dissimilar laws to those at issue

 here.


                     CONCLUSION AND RELIEF REQUESTED

         This Court should deny Plaintiff’s motion for leave to file a supplemental

 brief in support of its motion for reconsideration. In the alternative, if this Court

 grants Plaintiff’s motion, Defendants request the opportunity to file a four-page

 brief in response to Plaintiff’s supplemental brief.


                                              6
Case 1:22-cv-00787-JMB-PJG ECF No. 37, PageID.1075 Filed 05/22/23 Page 12 of 12




                                              Respectfully submitted,

                                              /s/ Tonya Celeste Jeter
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 Dated: May 22, 2023


                          CERTIFICATE OF SERVICE

        I hereby certify that on May 22, 2023, I electronically filed the foregoing
 document(s) with the Clerk of the Court using the ECF System, which will provide
 electronic notice to the parties.
                                                s/Tonya C. Jeter
                                                Tonya C. Jeter (P55352)




                                          7
